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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Heart Heating & Cooling, LLC

2.   All other names debtor       DBA     Heart Heating, Cooling & Plumbing
     used in the last 8 years
                                  DBA     Heart Heating, AC, Plumbing & Electric
     Include any assumed          DBA     Heart Heating, Cooling, Plumbing & Electric
     names, trade names and       DBA     Heart Automotive
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  4320 Barnes Rd., Unit 120
                                  Colorado Springs, CO 80917
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  El Paso                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  7801 W Colfax Avenue Lakewood, CO 80214
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Heart Heating & Cooling, LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Heart Heating & Cooling, LLC                                                                    Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor   Heart Heating & Cooling, LLC                                                Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Heart Heating & Cooling, LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      July 11, 2023
                                                  MM / DD / YYYY


                             X   /s/ Robert M. Townsend                                                   Robert M. Townsend
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ K. Jamie Buechler                                                     Date July 11, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 K. Jamie Buechler 30906
                                 Printed name

                                 Buechler Law Office, L.L.C.
                                 Firm name

                                 999 18th Street, Suite 1230 S
                                 Denver, CO 80202
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     720-381-0045                  Email address      Jamie@kjblawoffice.com

                                 30906 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       July 11, 2023                   X /s/ Robert M. Townsend
                                                           Signature of individual signing on behalf of debtor

                                                            Robert M. Townsend
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Heart Heating & Cooling, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,676,312.33

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,676,312.33


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        6,809,138.83


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           939,021.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,425,274.69


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         11,173,434.52




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                              Unknown



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Canvas Business (Share Checking)                  Checking                              5000                                    $60,452.31




          3.2.     Canvas Credit Union (Share Savings)               Savings                               2345                                             $5.00



                   Bank of America (in the name of HRT
          3.3.     Holdings)                                         Checking                              3431                                    $26,272.54



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $86,729.85
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                     page 1
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Debtor       Heart Heating & Cooling, LLC                                                   Case number (If known)
             Name

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                          0.00      -                                   0.00 = ....                  Unknown
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                                $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used   Current value of
                                                                           debtor's interest         for current value       debtor's interest
                                                                           (Where available)

39.       Office furniture
          Office Furrniture (See Attached 2021
          Depreciation Detail Listing)                                               Unknown         Book Value                         Unknown



40.       Office fixtures
          Office Fixtures (See 2021 Depreciation Detail
          Listing)                                                                   Unknown         Book Value                         Unknown



41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office Equipment, Computer and                                             Unknown                                            Unknown
          Communicatio nsystems Equipment, and

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                        page 2
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Debtor       Heart Heating & Cooling, LLC                                                   Case number (If known)
             Name

          Software (See 2021 Depreciation Detail
          Listing)



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                  $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used   Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value       debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2020 Ram Promaster 2500 (VIN xxx6239)                           $28,807.00       Book Value                        $28,807.00


          47.2.    2020 Ram Promaster 2500 (VIN xxx7896)                           $28,807.00       Book Value                        $28,807.00


          47.3.    2020 Ram Promaster 2500 (VIN #0703)                             $29,428.00       Book Value                        $19,704.48


          47.4.    2020 Ram Promaster 2500 (VIN xxx2923)                           $28,807.00       Book Value                        $28,807.00


          47.5.    2020 Ram Promaster 3500 (VIN xxx6243)                           $33,065.00       Book Value                        $33,065.00


          47.6.    2020 Ram Promaster 3500 (VIN xxx6242)                           $23,825.00       Book Value                        $23,825.00


          47.7.    2020 Ram Promaster 3500 (VIN xxx6236)                           $28,807.00       Book Value                        $28,807.00


          47.8.    2020 Ram Promaster 35000 (VIN
                   xxx6237)                                                        $28,766.00       Book Value                        $28,766.00


          47.9.    2020 Ford Transit-250 Cargo (VIN
                   xxx9715)                                                        $33,822.00       Book Value                        $33,822.00


          47.10 2020 Ford Transit 250 Cargo (VIN
          .     xxx4917)                                                           $41,379.00       Book Value                        $41,379.00

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                       page 3
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Debtor      Heart Heating & Cooling, LLC                                  Case number (If known)
            Name



         47.11 2020 Ford Transit 250 Cargo (VIN
         .     xxx7389)                                            $32,919.00     Book Value          $32,919.00


         47.12 2020 Ford Transit 250 Cargo (VIn
         .     XXX9254)                                            $48,572.00     Book Value          $48,572.00


         47.13 2020 Ford Transit 250 Cargo (VIN
         .     xxx1246)                                            $40,618.00     Book Value          $40,618.00


         47.14 2020 Ford Transit 250 Cargo (VIN
         .     xxx9339)                                            $47,775.00     Book Value          $47,775.00


         47.15 2020 Ford Transit 250 Cargo (VIN
         .     xxx4889)                                            $37,007.00     Book Value          $37,007.00


         47.16 Leasing Associates 2022 Transit (VIN
         .     xxx1004)                                            $43,608.00     Book Value          $43,608.00


         47.17 Leasing Associates Transit (VIN
         .     xxx0487)                                            $43,608.00     Book Value          $43,608.00


         47.18 Leasing Associates 2022 Transit (VIN
         .     0778)                                               $42,077.00     Book Value          $42,077.00


         47.19 Leasing Associates 2022 Transit (VIN
         .     xxx0789)                                            $42,077.00     Book Value          $42,077.00


         47.20 Leasing Associates 2022 Transit (VIN
         .     xxx0974)                                            $42,077.00     Book Value          $42,077.00


         47.21 2018 Nissan Nv Cargo Nv 2500 Hd (VIn
         .     xxx5079)                                                  $0.00                         Unknown


         47.22 2018 Nissan Nv Cargo Nv2500 Hd (VIN
         .     xxx6325)                                            $29,217.00     Book Value          $29,217.00


         47.23 2018 Nissan Nv Cargo Nv2500 Hd (VIN
         .     xxx7560)                                            $31,817.00     Book Value          $37,817.00


         47.24 2020 Nissan Nv Cargo Nv 2500 Hd (VIN
         .     xxx4049)                                            $30,221.00     Book Value          $30,221.00


         47.25
         .     2021 Ram Promaster 2500 (VIN xxx3581)               $34,739.00     Book Value          $34,739.00


         47.26
         .     2021 Ram Promaster 2500 (VIN xxx8062)               $35,848.00     Book Value          $35,848.00



Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property               page 4
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Debtor      Heart Heating & Cooling, LLC                                  Case number (If known)
            Name

         47.27
         .     2021 Ford Transit 250 Cargo (VIN #7878)             $40,027.00     Book Value          $40,027.00


         47.28
         .     2020 Ford Transit 250 Cargo (VIN 6011)              $43,928.00     Book Value          $43,928.00


         47.29 2020 Ford Transit 250 Cargo (VIN
         .     xxx7960)                                            $45,941.00     Book Value          $45,941.00


         47.30 2021 Ford Transit 250 Cargo (VIN
         .     xxx0462)                                            $47,690.00     Book Value          $47,690.00


         47.31
         .     2020 Ram Promaster 2500 (VIN xxx0701)               $28,807.00     Book Value          $28,807.00


         47.32 Leasing Associates 2022 Ford Transit
         .     250 (VIN xxx1171)                                   $43,608.00     Book Value          $43,608.00


         47.33
         .     2020 Ram Promaster 1500 (VINxxx7802)                $27,666.00     Book Value          $27,666.00


         47.34 2021 Ford Transit 350 Cargo (VIN
         .     xxx3948)                                            $49,886.00     Book Value          $49,886.00


         47.35 2021 Ford Transit 350 Cargo (VIN
         .     xxx3949)                                            $47,662.00     Book Value          $47,662.00


         47.36
         .     2018 Ram Promaster 2500 (VIN xxx1830)               $28,420.00     Book Value          $28,420.00


         47.37
         .     2018 Ram Promaster 2500 (VIN xxx9368)               $32,250.00     Book Value          $32,250.00


         47.38
         .     2018 Ram Promaster 2500 (VIN xxx1827)               $29,318.00     Book Value          $29,318.00


         47.39
         .     2018 Ram Promaster (VIN xxx1831)                    $28,919.00     Book Value          $28,919.00


         47.40 2022 Ford Transit 350 Cargo (VIN
         .     xxx0141)                                            $46,121.00     Book Value          $46,121.00


         47.41 2022 Ford Transit 350 Cargo (VIN
         .     xxx0142)                                            $45,326.00     Book Value          $45,326.00


         47.42 2022 Ford Transit 350 Cargo (VIN
         .     xxx0146)                                            $52,464.00     Book Value          $52,464.00


         47.43 2022 Ford Transit 350 Cargo (VIN
         .     xxx0145)                                            $53,253.00     Book Value          $53,253.00

Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property               page 5
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Debtor      Heart Heating & Cooling, LLC                                  Case number (If known)
            Name



         47.44 2022 Ford Transit 250 Cargo (VIN
         .     xxx0137)                                            $51,814.00     Book Value          $51,814.00


         47.45
         .     2022 Ram Promaster 2500 (VIN xxx1429)               $43,779.00     Book Value          $43,779.00


         47.46
         .     2022 Ram Promaster 2500 (VIN xxx1430)               $42,155.00     Book Value          $42,155.00


         47.47 2022 Ford E-Transit 350 Cargo (VIN
         .     xxx1971)                                            $53,283.00     Book Value          $53,283.00


         47.48 2022 Ford E-Transit 350 Cargo (VIN
         .     xxx2184)                                            $52,252.00     Book Value          $52,252.00


         47.49
         .     2022 Ram Promaster 2500 (VIN xxx8440)               $41,631.00     Book Value          $41,631.00


         47.50 2022 Ford E Transit 350 Cargo (VIN
         .     xxx3000)                                            $55,837.00     Book Value          $55,837.00


         47.51
         .     2019 Ram Promaster 2500 (VIN xxx8951)               $29,533.00     Book Value          $29,533.00


         47.52
         .     2019 Ram Promaster 2500 (VIN xxx2718)               $26,552.00     Book Value          $26,552.00


         47.53
         .     2022 Chevrolet Colorado (VIN xxx3133)               $30,322.00     Book Value          $30,322.00


         47.54
         .     2022 Chevrolet Colorado (VIN xxx3449)               $30,322.00     Book Value          $30,322.00


         47.55 2022 Chrysler Voyager LX Passenger
         .     (VIN xxx3630)                                       $33,595.00     Book Value          $33,595.00


         47.56 2022 Chrysler Voyager LX Passenger
         .     (VIN xxx3625)                                       $33,595.00     Book Value          $33,595.00


         47.57
         .     2021 Ram 1500 Classic (VIN xxx1316)                 $23,974.00     Book Value          $23,974.00


         47.58
         .     2022 Nissan Frontier (VIN xxx8762)                  $28,703.00     Book Value          $28,703.00


         47.59 2022 Ford E-Transit 350 Cargo (VIN
         .     xxx2154)                                            $45,407.00     Book Value          $45,407.00




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property               page 6
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Debtor       Heart Heating & Cooling, LLC                                              Case number (If known)
             Name

          47.60
          .     2023 Ford Maverick (VIN xxx7830)                               $26,251.00      Book Value                         $26,251.00


          47.61 2022 Ford E-Transit 350 Cargo (VIN
          .     xxx2999)                                                       $52,637.00      Book Value                         $52,637.00


          47.62
          .     2016 Chevrolet Spart                                            $5,488.00      Book Value                           $5,488.00


          47.63
          .     2020 Ram Promaster 2500 (VIN xxx3541)                          $28,390.00      Book Value                         $28,390.00


          47.64
          .     2020 Ram Promaster 2500 (VIN xxx7898)                          $28,807.00      Book Value                         $28,807.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          Other macinery fixtures, and equipment (See
          attached 2021 Depreciation Detail Listing)                            Unknown        Book Value                          Unknown




51.       Total of Part 8.                                                                                                 $2,339,582.48
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
              No
             Yes

53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

          Description and location of           Nature and           Net book value of         Valuation method used   Current value of
          property                              extent of            debtor's interest         for current value       debtor's interest
          Include street address or other       debtor's interest    (Where available)
          description such as Assessor          in property
          Parcel Number (APN), and type
          of property (for example,
          acreage, factory, warehouse,
          apartment or office building, if
          available.
          55.1.
                   7801 W. Colfax
                   Avenue                       Leasehold                            $0.00     Book Value                          Unknown

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 7
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Debtor        Heart Heating & Cooling, LLC                                                Case number (If known)
              Name



           55.2.    4320 Barnes Rd., Unit
                    120, Colorado
                    Springs, Colorado                                              Unknown            Book Value                         Unknown




56.        Total of Part 9.                                                                                                                 $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used   Current value of
                                                                        debtor's interest             for current value       debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Website Development and company branding
           (See attached 2021 Depreciation Detain
           Listing)                                                                Unknown                                               Unknown



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer lists, marketing lists                                         Unknown            Book Value                         Unknown



64.        Other intangibles, or intellectual property
           Website                                                                 Unknown            Book Value                         Unknown



65.        Goodwill
           Goodwill                                                                Unknown            Book Value                         Unknown



66.        Total of Part 10.                                                                                                                $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 8
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Debtor        Heart Heating & Cooling, LLC                                                 Case number (If known)
              Name


              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.

                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims
           Heart Heating & Cooling, LLC v. Flatiron Property
           Holding, L.L.C. - civil lawsuit                                                                                   $250,000.00
           Nature of claim            Breach of Contract
           Amount requested                        $250,000.00



76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           1. Heart Automotive, LLC - 100%
           2. HRT Holdings, LLC d/b/a                                                                                                $0.00




78.        Total of Part 11.                                                                                              $250,000.00
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
              No
              Yes




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Debtor          Heart Heating & Cooling, LLC                                                                        Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $86,729.85

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,339,582.48

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $250,000.00

91. Total. Add lines 80 through 90 for each column                                                         $2,676,312.33            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,676,312.33




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                          page 10
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* Item is included in UBIA                                                                Depreciation Detail Listing                                                                                     2021
for Section 199A calculations.                                                                              FORM 1120                                                                                      PAGE     1
See "UBIA" in lower right corner.                                              (This page is not filed with the return. It is for your records only.)
Name(s) as shown on return                                                                                                                                                   Social security number/EIN

      HEART HEATING & COOLING LLC                                                                                                                                                    XX-XXXXXXX
                                                              Basis      Business        Section              Bonus          Depreciable                                    Prior          Current        Accumulated     AMT
No.           Description             Date     Cost                                                                                         Life        Method   Rate
                                                            Adjustment   percentage        179             depreciation         Basis                                    Depreciation    Depreciation     Depreciation   Current

 1     OFFICE FURNITURE             01062020     1,909                    100.00                                                   1,909 7         200 DB HY     24.49           273             468               741
 2     OFFICE FURNITURE             04292020     2,377                    100.00                                                   2,377 7         200 DB HY     24.49           340             582               922
 3     GLOBAL TEST SUPPLY EQ 05082020            2,858                    100.00                                                   2,858 5         200 DB HY     32              572             915           1,487
 4     EQUIP FROM AMAZON            06082020     1,176                    100.00                                                   1,176 5         200 DB HY     32              235             376               611
 5     GLOABL TEST SUPPLY EQ 06082020           13,053                    100.00                                                 13,053 5          200 DB HY     32           2,611           4,177            6,788
 6     STAY FLAWLESS EQUIPME 06112020                 760                 100.00                                                        760 5      200 DB HY     32              152             243               395
 7     DRAIN CLEANER                07242020     3,042                    100.00                                                   3,042 5         200 DB HY     32              608             973           1,581
 8     NEW OFFICE LAPTOP            09082020     1,277                    100.00                                                   1,277 5         200 DB HY     32              255             409               664
 9     101 DODGE PROMASTER          01012020    45,179                    100.00                                                 45,179 5          200 DB HY     32           9,036          14,457           23,493
 10 101 DODGE UPFITTING             02282020     2,829                    100.00                                                   2,829 5         200 DB HY     32              566             905           1,471
 11 101 DODGE SUMMIT BODY 06122020                    353                 100.00                                                        353 5      200 DB HY     32                 71           113               184
 12 201 DODGE PROMASTER             01012020    43,052                    100.00                                                 43,052 5          200 DB HY     32           8,610          13,777           22,387
 13 201 DODGE IMAGING               02162020     3,178                    100.00                                                   3,178 5         200 DB HY     32              636          1,017            1,653
 14 201 DODGE UPFITTING             03312020     3,932                    100.00                                                   3,932 5         200 DB HY     32              786          1,258            2,044
 15 201 DODGE SUMMIT BODY 03122020               3,897                    100.00                                                   3,897 5         200 DB HY     32              779          1,247            2,026
 16 201 DODGE UPFITTING             11032020     1,576                    100.00                                                   1,576 5         200 DB HY     32              315             504               819
 17 201 DODGE WRAP                  12182020     1,077                    100.00                                                   1,077 5         200 DB HY     32              215             345               560
 18 202 DODGE PROMASTER             01012020    43,053                    100.00                                                 43,053 5          200 DB HY     32           8,611          13,777           22,388
 19 202 DODGE UPFITTING             02162020     3,897                    100.00                                                   3,897 5         200 DB HY     32              779          1,247            2,026
 20 202 DODGE IMAGING               03012020     3,178                    100.00                                                   3,178 5         200 DB HY     32              636          1,017            1,653
 21 202 DODGE MATERIAL FL 04302020                    457                 100.00                                                        457 5      200 DB HY     32                 91           146               237
 22 202 DODGE UPFITTING             05012020     4,382                    100.00                                                   4,382 5         200 DB HY     32              876          1,402            2,278
 23 202 DODGE SUMMIT BODY 06252020                    162                 100.00                                                        162 5      200 DB HY     32                 32               52             84
 24 203 DODGE PROMASTER             01012020    52,673                    100.00                                                 52,673 5          200 DB HY     32         10,535           16,855           27,390
 25 203 DODGE UPFITTING             02232020     7,536                    100.00                                                   7,536 5         200 DB HY     32           1,507           2,412            3,919
 26 203 DODGE IMAGING               04012020     3,179                    100.00                                                   3,179 5         200 DB HY     32              636          1,017            1,653
 27 203 DODGE IMAGING               12232020     1,077                    100.00                                                   1,077 5         200 DB HY     32              215             345               560
 28 204 DODGE PROMASTER             06152020    42,475                    100.00                                                 42,475 5          200 DB HY     32           8,495          13,592           22,087
 29 204 DODGE MATERIAL FL 06302020                    457                 100.00                                                        457 5      200 DB HY     32                 91           146               237
 30 204 DODGE CARGO MAT             07032020          429                 100.00                                                        429 5      200 DB HY     32                 86           137               223
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* Item is included in UBIA                                                                Depreciation Detail Listing                                                                                    2021
for Section 199A calculations.                                                                              FORM 1120                                                                                     PAGE     2
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Name(s) as shown on return                                                                                                                                                  Social security number/EIN

      HEART HEATING & COOLING LLC                                                                                                                                                   XX-XXXXXXX
                                                              Basis      Business        Section              Bonus          Depreciable                                   Prior          Current        Accumulated     AMT
No.           Description             Date     Cost                                                                                         Life        Method   Rate
                                                            Adjustment   percentage        179             depreciation         Basis                                   Depreciation    Depreciation     Depreciation   Current

 31 204 DODGE UPFITTING             07142020     9,383                    100.00                                                   9,383 5         200 DB HY     32          1,877           3,003            4,880
 32 204 DODGE IMAGING               07272020     3,448                    100.00                                                   3,448 5         200 DB HY     32             690          1,103            1,793
 33 205 DODGE PROMASTER             06182020    44,603                    100.00                                                 44,603 5          200 DB HY     32          8,921          14,273           23,194
 34 205 DODGE IMAGING               06182020          970                 100.00                                                        970 5      200 DB HY     32             194             310               504
 35 205 DODGE MATERIAL FL 06302020                    457                 100.00                                                        457 5      200 DB HY     32                91           146               237
 36 205 DODGE CARGO MAT             07032020          429                 100.00                                                        429 5      200 DB HY     32                86           137               223
 37 205 DODGE SUMMIT BODY 08052020               8,371                    100.00                                                   8,371 5         200 DB HY     32          1,674           2,679            4,353
 38 206 DODGE PROMASTER             07242020    40,096                    100.00                                                 40,096 5          200 DB HY     32          8,019          12,831           20,850
 39 206 DODGE MATERIAL FL 07302020                    457                 100.00                                                        457 5      200 DB HY     32                91           146               237
 40 206 DODGE IMAGING               08202020     3,448                    100.00                                                   3,448 5         200 DB HY     32             690          1,103            1,793
 41 206 DODGE SUMMIT BODY 09302020               9,897                    100.00                                                   9,897 5         200 DB HY     32          1,979           3,167            5,146
 42 207 DODGE PROMASTER             07242020    40,096                    100.00                                                 40,096 5          200 DB HY     32          8,019          12,831           20,850
 43 207 DODGE IMAGING               07242020          970                 100.00                                                        970 5      200 DB HY     32             194             310               504
 44 207 DODGE MATERIAL FL 07302020                    457                 100.00                                                        457 5      200 DB HY     32                91           146               237
 45 208 DODGE PROMASTER             09152020    39,328                    100.00                                                 39,328 5          200 DB HY     32          7,866          12,585           20,451
 46 208 DODGE IMAGING               10272020     3,448                    100.00                                                   3,448 5         200 DB HY     32             690          1,103            1,793
 47 301 DODGE PROMASTER             05042020    48,203                    100.00                                                 48,203 5          200 DB HY     32          9,641          15,425           25,066
 48 301 DODGE SUMMIT BODY 05262020               7,907                    100.00                                                   7,907 5         200 DB HY     32          1,581           2,530            4,111
 49 301 DODGE MATERIAL FL 05302020                    457                 100.00                                                        457 5      200 DB HY     32                91           146               237
 50 301 DODGE IMAGING               06122020          970                 100.00                                                        970 5      200 DB HY     32             194             310               504
 51 302 DODGE PROMASTER             05202020    48,203                    100.00                                                 48,203 5          200 DB HY     32          9,641          15,425           25,066
 52 302 DODGE MATERIAL FL 05302020                    457                 100.00                                                        457 5      200 DB HY     32                91           146               237
 53 302 DODGE UPFITTING             06172020     8,196                    100.00                                                   8,196 5         200 DB HY     32          1,639           2,623            4,262
 54 302 DODGE IMAGING               06172020          970                 100.00                                                        970 5      200 DB HY     32             194             310               504
 55 302 DODGE SUMMIT BODY 06192020               5,000                    100.00                                                   5,000 5         200 DB HY     32          1,000           1,600            2,600
 56 303 DODGE PROMASTER             05082020    50,524                    100.00                                                 50,524 5          200 DB HY     32        10,105           16,168           26,273
 57 303 DODGE IMAGING               05272020          970                 100.00                                                        970 5      200 DB HY     32             194             310               504
 58 303 DODGE UPFITTING             07012020     8,439                    100.00                                                   8,439 5         200 DB HY     32          1,688           2,700            4,388
 59 303 DODGE IMAGING               09042020     3,987                    100.00                                                   3,987 5         200 DB HY     32             797          1,276            2,073
 60 304 DODGE PROMASTER             05082020    50,524                    100.00                                                 50,524 5          200 DB HY     32        10,105           16,168           26,273
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* Item is included in UBIA                                                                Depreciation Detail Listing                                                                                       2021
for Section 199A calculations.                                                                              FORM 1120                                                                                        PAGE     3
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Name(s) as shown on return                                                                                                                                                     Social security number/EIN

      HEART HEATING & COOLING LLC                                                                                                                                                      XX-XXXXXXX
                                                              Basis      Business        Section              Bonus          Depreciable                                      Prior          Current        Accumulated     AMT
No.           Description             Date     Cost                                                                                         Life        Method   Rate
                                                            Adjustment   percentage        179             depreciation         Basis                                      Depreciation    Depreciation     Depreciation   Current

 61 304 DODGE UPFITTING             06122020     8,196                    100.00                                                   8,196 5         200 DB HY     32             1,639           2,623            4,262
 62 305 DODGE PROMASTER             06052020    45,766                    100.00                                                 45,766 5          200 DB HY     32             9,153          14,645           23,798
 63 305 DODGE MATERIAL FL 06302020                    457                 100.00                                                        457 5      200 DB HY     32                   91           146               237
 64 305 DODGE SUMMIT BODY 07172020               8,610                    100.00                                                   8,610 5         200 DB HY     32             1,722           2,755            4,477
 65 305 DODGE IMAGING               08102020     3,987                    100.00                                                   3,987 5         200 DB HY     32                797          1,276            2,073
 66 306 DODGE PROMASTER             06162020    60,765                    100.00                                                 60,765 5          200 DB HY     32           12,153           19,445           31,598
 67 306 DODGE MATERIAL FL 06302020                    457                 100.00                                                        457 5      200 DB HY     32                   91           146               237
 68 306 DODGE UPFITTING             08202020     8,679                    100.00                                                   8,679 5         200 DB HY     32             1,736           2,777            4,513
 69 209 NISSAN NV200                11132020    36,867                    100.00                                                 36,867 5          200 DB HY     32             7,373          11,797           19,170
 70 210 NISSAN NV200                11132020    36,867                    100.00                                                 36,867 5          200 DB HY     32             7,373          11,797           19,170
 71 211 NISSAN NV200                11242020    36,867                    100.00                                                 36,867 5          200 DB HY     32             7,373          11,797           19,170
 72 212 NISSAN NV200                11132020    40,929                    100.00                                                 40,929 5          200 DB HY     32             8,186          13,097           21,283
 73 REFRIGERATOR                    09202020          205                 100.00                                                        205 7      200 DB HY     24.49                29               50             79
 74 WEBSITE COSTS                   12312020    31,071                    100.00                                                 31,071 3          S/L           33.3333           863         10,357           11,220
 75 UNIFORMS AND DROPCLOT 12312020              10,862                    100.00                                                 10,862 7          200 DB HY     24.49          1,552           2,660            4,212
 76 TOOLS AND EQUIPMENT             12312020     2,538                    100.00                                                   2,538 7         200 DB HY     24.49             363             622               985
 77 7 LAPTOPS                       06012021    15,630                    100.00                                                 15,630 5          200 DB MQ     25                             3,908            3,908
 78 LITTLE GIANT LADDERS            07012021     4,095                    100.00                                                   4,095 7         200 DB MQ     10.71                             439               439
 79 20 APPLIANCE DOLLIES            07012021     7,335                    100.00                                                   7,335 7         200 DB MQ     10.71                             786               786
 80 LAPTOP - CODY (TAG 12 08182021                    796                 100.00                                                        796 5      200 DB MQ     15                                119               119
 81 WALL DIVIDERS                   08202021     1,200                    100.00                                                   1,200 7         200 DB MQ     10.71                             129               129
 82 LAPTOP                          08232021          762                 100.00                                                        762 5      200 DB MQ     15                                114               114
 83 TABLETS                         01252021          905                 100.00                                                        905 5      200 DB MQ     35                                317               317
 84 EQUIPMENT ON TRUCKS             12312021    63,798                    100.00                                                 63,798 7          200 DB MQ     3.57                           2,278            2,278
 85 18 PORTABLE AC UNITS            07012021     9,379                    100.00                                                   9,379 7         200 DB MQ     10.71                          1,004            1,004
 86 TOOLS & EQUIP ON TRUC 12312021              64,011                    100.00                                                 64,011 7          200 DB MQ     3.57                           2,285            2,285
 87 UNIFORMS AND DROP CLO 12312021              46,337                    100.00                                                 46,337 7          200 DB MQ     3.57                           1,654            1,654
 88 207 DODGE UPFITTING             03292021     9,614                    100.00                                                   9,614 5         200 DB MQ     35                             3,365            3,365
 89 208 DODGE UPFITTING             01182021     9,438                    100.00                                                   9,438 5         200 DB MQ     35                             3,303            3,303
 90 303 DODGE RE-WRAP               02062021     3,987                    100.00                                                   3,987 5         200 DB MQ     35                             1,395            1,395
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* Item is included in UBIA                                                               Depreciation Detail Listing                                                                                        2021
for Section 199A calculations.                                                                             FORM 1120                                                                                         PAGE     4
See "UBIA" in lower right corner.                                             (This page is not filed with the return. It is for your records only.)
Name(s) as shown on return                                                                                                                                                     Social security number/EIN

      HEART HEATING & COOLING LLC                                                                                                                                                     XX-XXXXXXX
                                                             Basis      Business        Section              Bonus          Depreciable                                       Prior         Current         Accumulated     AMT
No.           Description             Date       Cost                                                                                      Life        Method       Rate
                                                           Adjustment   percentage        179             depreciation         Basis                                       Depreciation   Depreciation      Depreciation   Current

 91 304 DODGE WRAP                  09132021       2,995                 100.00                                                   2,995 5         200 DB MQ     15                                449                449
 92 305 DODGE WRAP                  09132021       2,995                 100.00                                                   2,995 5         200 DB MQ     15                                449                449
 93 306 DODGE WRAP                  09132021       2,995                 100.00                                                   2,995 5         200 DB MQ     15                                449                449
 94 CHEVY SPARK                     01012021       7,100                 100.00                                                   7,100 5         200 DB MQ     35                             2,485             2,485
 95 213 DODGE PROMASTER             12312021      49,961                 100.00                                                 49,961 5          200 DB MQ     5                              2,498             2,498
 96 214 DODGE PROMASTER             12312021      45,020                 100.00                                                 45,020 5          200 DB MQ     5                              2,251             2,251
 97 307 FORD TRANSIT                12312021      62,847                 100.00                                                 62,847 5          200 DB MQ     5                              3,142             3,142
 98 308 FORD TRANSIT                12312021      63,449                 100.00                                                 63,449 5          200 DB MQ     5                              3,172             3,172
 99 309 FORD TRANSIT                12312021      65,127                 100.00                                                 65,127 5          200 DB MQ     5                              3,256             3,256
 100 310 FORD TRANSIT               12312021      61,314                 100.00                                                 61,314 5          200 DB MQ     5                              3,066             3,066
 101 311 FORD TRANSIT               12312021      51,641                 100.00                                                 51,641 5          200 DB MQ     5                              2,582             2,582
 102 312 FORD TRANSIT               12312021      51,641                 100.00                                                 51,641 5          200 DB MQ     5                              2,582             2,582
 103 313 FORD TRANSIT               12312021      40,490                 100.00                                                 40,490 5          200 DB MQ     5                              2,025             2,025
 104 314 DODGE PROMASTER            12312021      41,615                 100.00                                                 41,615 5          200 DB MQ     5                              2,081             2,081
 105 315 DODGE PROMASTER            12312021      39,101                 100.00                                                 39,101 5          200 DB MQ     5                              1,955             1,955
 106 316 DODGE PROMASTER            12312021      41,351                 100.00                                                 41,351 5          200 DB MQ     5                              2,068             2,068
 107 402 DODGE PICKUP               12312021      33,472                 100.00                                                 33,472 5          200 DB MQ     5                              1,674             1,674
 108 SEO DEVELOPMENT                12312021       6,400                 100.00                                                   6,400 3         S/L           2.7778                            178                178
 109 WEBSITE DEVELOPMENT            12312021      37,600                 100.00                                                 37,600 3          S/L           2.7778                         1,044             1,044
 110 COMPANY BRANDING               12312021    300,927                  100.00                                                300,927 15         AMT-197       .5556                          1,672             1,672
 111 LOAN FEES                      09012021    791,258                  100.00                                                791,258 1          AMT-461       33.3333                     256,450           256,450




       Totals                                  3,104,854                                                                    3,104,854                                       207,277         657,535           864,812
       Land Amount                                                                                                                        CY 179 and CY Bonus                                                ST ADJ:
       Net Depreciable Cost                    3,104,854                                                                                  TOTAL CY Depr including 179/bonus                 657,535
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Fill in this information to identify the case:

Debtor name         Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:           DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Ally Financial                               Describe debtor's property that is subject to a lien                   $32,289.54                $28,807.00
      Creditor's Name                              2020 Ram Promaster 2500 (VIN xxx6239)
      PO Box 9001948
      Louisville, KY 40290
      Creditor's mailing address                   Describe the lien
                                                   Automobile Loan
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4932
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Ally Financial                               Describe debtor's property that is subject to a lien                   $32,302.18                      $0.00
      Creditor's Name                              2020 Ram Promaster 2500 (VIN xxx7900)
      PO Box 9001948
      Louisville, KY 40290
      Creditor's mailing address                   Describe the lien
                                                   Auto Lease
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4932
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 30
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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   Ally Financial                              Describe debtor's property that is subject to a lien                     $30,096.40   $28,807.00
      Creditor's Name                             2020 Ram Promaster 2500 (VIN xxx7896)
      PO Box 9001948
      Louisville, KY 40290
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4937
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   Chrysler Capital                            Describe debtor's property that is subject to a lien                     $35,696.49   $33,065.00
      Creditor's Name                             2020 Ram Promaster 3500 (VIN xxx6243)
      PO Box 660335
      Dallas, TX 75266
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7214
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5   Chrysler Capital                            Describe debtor's property that is subject to a lien                     $35,696.49   $23,825.00
      Creditor's Name                             2020 Ram Promaster 3500 (VIN xxx6242)
      PO Box 660335
      Dallas, TX 75266-0335
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No


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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5917
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Chrysler Capital                            Describe debtor's property that is subject to a lien                     $32,992.92   $28,807.00
      Creditor's Name                             2020 Ram Promaster 3500 (VIN xxx6236)
      PO Box 660335
      Dallas, TX 75266-0335
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7541
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   Chrysler Capital                            Describe debtor's property that is subject to a lien                     $35,852.30   $28,766.00
      Creditor's Name                             2020 Ram Promaster 35000 (VIN xxx6237)
      PO Box 660335
      Dallas, TX 75266-0335
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/2020                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5415
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

      Citi Financial (Direct
2.8                                                                                                                        $158,346.84      $0.00
      Capital)                                    Describe debtor's property that is subject to a lien
      Creditor's Name                             Business Lease (Repo)
      PO Box 856502
      Des Moines, IA 50306
      Creditor's mailing address                  Describe the lien
                                                  Secured Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2023                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8866
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.9   Cloudfund LLC                               Describe debtor's property that is subject to a lien                     $447,900.00   Unknown
      Creditor's Name                             90 days or less: Accounts Receivable
      400 Rella Blvd, Suite
      165-101
      Suffern, NY 10901
      Creditor's mailing address                  Describe the lien
                                                  Business Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      January 2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
0     Everest Business Funding                    Describe debtor's property that is subject to a lien                     $196,075.00      $0.00
      Creditor's Name                             Short Term Business Loan
      8200 NW 52nd Terrace, 2nd
      Fl
      Doral, FL 33166
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)


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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
1     Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $62,969.96   $33,822.00
      Creditor's Name                             2020 Ford Transit-250 Cargo (VIN xxx9715)
      PO Box 650573
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2/2023                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9157
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
2     Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $67,277.42   $48,572.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIn XXX9254)
      PO Box 650573
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2831
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
3     Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $74,652.02   $47,775.00




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN xxx9339)
      PO Box 650573
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2686
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
4     Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $72,446.99   $40,618.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN xxx1246)
      PO Box 650573
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      3029
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
5     Ford Motor Credit                           Describe debtor's property that is subject to a lien                     $72,814.33   $37,007.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN xxx4889)
      PO Box 650573
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2511

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
6     Ford Motor Credit                           Describe debtor's property that is subject to a lien                      $72,502.43   $41,379.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN xxx4917)
      PO Box 62180
      Colorado Springs, CO
      80962
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9154
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
7     Ford Motor Credit                           Describe debtor's property that is subject to a lien                      $65,527.05   $32,919.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN xxx7389)
      PO Box 650573
      Dallas, TX 75265
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9161
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.1
8     Fox Business Funding                        Describe debtor's property that is subject to a lien                     $128,078.54        $0.00
      Creditor's Name                             Business Funding
      600 York Ter
      Naples, FL 34109

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.1
9     Leasing Associates                          Describe debtor's property that is subject to a lien                     $63,192.68   $43,608.00
      Creditor's Name                             Leasing Associates 2022 Transit (VIN
                                                  xxx1004)
      PO Box 203174
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
0     Leasing Associates                          Describe debtor's property that is subject to a lien                     $63,192.68   $43,608.00
      Creditor's Name                             Leasing Associates Transit (VIN xxx0487)
      PO Box 203174
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
1     Leasing Associates                          Describe debtor's property that is subject to a lien                     $63,205.75   $42,077.00
      Creditor's Name                             Leasing Associates 2022 Transit (VIN 0778)
      PO Box 203174
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9015
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
2     Leasing Associates                          Describe debtor's property that is subject to a lien                     $63,208.75   $42,077.00
      Creditor's Name                             Leasing Associates 2022 Transit (VIN
                                                  xxx0789)
      PO Box 203174
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1006
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
3     Leasing Associates                          Describe debtor's property that is subject to a lien                     $63,208.75   $42,077.00
      Creditor's Name                             Leasing Associates 2022 Transit (VIN
                                                  xxx0974)
      PO Box 203174
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1004
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
4     Leasing Associates                          Describe debtor's property that is subject to a lien                     $63,192.68   $43,608.00
      Creditor's Name                             Leasing Associates 2022 Ford Transit 250
                                                  (VIN xxx1171)
      PO Box 203174
      Dallas, TX 75320
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2022                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1003
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
5     Libertas Funding, LLC                       Describe debtor's property that is subject to a lien                 $1,034,120.27         $0.00
      Creditor's Name                             Civil Lawsuit Judgment
      c/o Joshua L. Lee
      Bennett Tueller Johnson &
      Deere
      3165 East Millrock Drive,
      Suite 500
      Salt Lake City, UT 84121
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply



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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
6     Michael M. Massa                            Describe debtor's property that is subject to a lien                     $55,040.62   Unknown
      Creditor's Name                             7801 W. Colfax Avenue
      14590 E. Florida Ave.
      Aurora, CO 80012
      Creditor's mailing address                  Describe the lien
                                                  Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      5/2023                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
7     Mike Albert                                 Describe debtor's property that is subject to a lien                     $37,752.00   Unknown
      Creditor's Name                             2018 Nissan Nv Cargo Nv 2500 Hd (VIn
                                                  xxx5079)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
8     Mike Albert                                 Describe debtor's property that is subject to a lien                     $36,300.00   $29,217.00
      Creditor's Name                             2018 Nissan Nv Cargo Nv2500 Hd (VIN
                                                  xxx6325)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1246
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.2
9     Mike Albert                                 Describe debtor's property that is subject to a lien                     $36,300.00   $37,817.00
      Creditor's Name                             2018 Nissan Nv Cargo Nv2500 Hd (VIN
                                                  xxx7560)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      11/2020                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1245
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
0     Mike Albert                                 Describe debtor's property that is subject to a lien                     $40,300.00   $30,221.00
      Creditor's Name                             2020 Nissan Nv Cargo Nv 2500 Hd (VIN
                                                  xxx4049)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
1     Mike Albert                                 Describe debtor's property that is subject to a lien                     $35,300.00   $34,739.00
      Creditor's Name                             2021 Ram Promaster 2500 (VIN xxx3581)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4375
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
2     Mike Albert                                 Describe debtor's property that is subject to a lien                     $35,300.00   $35,848.00
      Creditor's Name                             2021 Ram Promaster 2500 (VIN xxx8062)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4374
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
3     Mike Albert                                 Describe debtor's property that is subject to a lien                     $45,100.00   $40,027.00
      Creditor's Name                             2021 Ford Transit 250 Cargo (VIN #7878)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7435
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
4     Mike Albert                                 Describe debtor's property that is subject to a lien                     $45,100.00   $43,928.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN 6011)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8065
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
5     Mike Albert                                 Describe debtor's property that is subject to a lien                     $48,100.00   $45,941.00
      Creditor's Name                             2020 Ford Transit 250 Cargo (VIN xxx7960)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7436
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
6     Mike Albert                                 Describe debtor's property that is subject to a lien                     $50,200.00   $49,886.00
      Creditor's Name                             2021 Ford Transit 350 Cargo (VIN xxx3948)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2117
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
7     Mike Albert                                 Describe debtor's property that is subject to a lien                     $48,200.00   $47,662.00
      Creditor's Name                             2021 Ford Transit 350 Cargo (VIN xxx3949)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2116
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
8     Mike Albert                                 Describe debtor's property that is subject to a lien                     $38,783.00   $28,420.00
      Creditor's Name                             2018 Ram Promaster 2500 (VIN xxx1830)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7479
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3
9     Mike Albert                                 Describe debtor's property that is subject to a lien                     $39,371.00   $29,318.00
      Creditor's Name                             2018 Ram Promaster 2500 (VIN xxx1827)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7477
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
0     Mike Albert                                 Describe debtor's property that is subject to a lien                     $54,159.03        $0.00
      Creditor's Name                             2018 Ram Promaster (VIN xxx1831)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
1     Mike Albert                                 Describe debtor's property that is subject to a lien                     $68,824.79   $46,121.00
      Creditor's Name                             2022 Ford Transit 350 Cargo (VIN xxx0141)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0726
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
2     Mike Albert                                 Describe debtor's property that is subject to a lien                     $55,137.62   $45,326.00
      Creditor's Name                             2022 Ford Transit 350 Cargo (VIN xxx0142)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0727
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
3     Mike Albert                                 Describe debtor's property that is subject to a lien                     $71,170.26   $52,464.00
      Creditor's Name                             2022 Ford Transit 350 Cargo (VIN xxx0146)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1783
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
4     Mike Albert                                 Describe debtor's property that is subject to a lien                     $55,108.22   $53,253.00
      Creditor's Name                             2022 Ford Transit 350 Cargo (VIN xxx0145)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1784
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
5     Mike Albert                                 Describe debtor's property that is subject to a lien                     $55,386.94   $51,814.00
      Creditor's Name                             2022 Ford Transit 250 Cargo (VIN xxx0137)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      4/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1921
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
6     Mike Albert                                 Describe debtor's property that is subject to a lien                     $57,773.26   $43,779.00
      Creditor's Name                             2022 Ram Promaster 2500 (VIN xxx1429)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2748
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
7     Mike Albert                                 Describe debtor's property that is subject to a lien                     $57,477.17   $42,155.00
      Creditor's Name                             2022 Ram Promaster 2500 (VIN xxx1430)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      2751
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
8     Mike Albert                                 Describe debtor's property that is subject to a lien                     $55,386.74   $53,283.00
      Creditor's Name                             2022 Ford E-Transit 350 Cargo (VIN xxx1971)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4167
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4
9     Mike Albert                                 Describe debtor's property that is subject to a lien                     $62,197.20        $0.00
      Creditor's Name                             2022 E-Transit 350 Cargo (VIN xxx2184)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
0     Mike Albert                                 Describe debtor's property that is subject to a lien                     $45,530.60   $41,631.00
      Creditor's Name                             2022 Ram Promaster 2500 (VIN xxx8440)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4169
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
1     Mike Albert                                 Describe debtor's property that is subject to a lien                     $55,837.00   $55,837.00
      Creditor's Name                             2022 Ford E Transit 350 Cargo (VIN xxx3000)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4168
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
2     Mike Albert                                 Describe debtor's property that is subject to a lien                     $40,631.76   $29,533.00
      Creditor's Name                             2019 Ram Promaster 2500 (VIN xxx8951)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4855
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
3     Mike Albert                                 Describe debtor's property that is subject to a lien                     $39,765.22   $26,552.00
      Creditor's Name                             2019 Ram Promaster 2500 (VIN xxx2718)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4856
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
4     Mike Albert                                 Describe debtor's property that is subject to a lien                     $31,318.02   $30,322.00
      Creditor's Name                             2022 Chevrolet Colorado (VIN xxx3133)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8720
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
5     Mike Albert                                 Describe debtor's property that is subject to a lien                     $40,314.87   $30,322.00
      Creditor's Name                             2022 Chevrolet Colorado (VIN xxx3449)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8716
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
6     Mike Albert                                 Describe debtor's property that is subject to a lien                     $38,549.68   $33,595.00
      Creditor's Name                             2022 Chrysler Voyager LX Passenger (VIN
                                                  xxx3630)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5291
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
7     Mike Albert                                 Describe debtor's property that is subject to a lien                     $37,665.00   $33,595.00
      Creditor's Name                             2022 Chrysler Voyager LX Passenger (VIN
                                                  xxx3625)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      5292
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
8     Mike Albert                                 Describe debtor's property that is subject to a lien                     $41,950.48   $23,974.00
      Creditor's Name                             2021 Ram 1500 Classic (VIN xxx1316)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      1/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4372
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.5
9     Mike Albert                                 Describe debtor's property that is subject to a lien                     $28,718.94   $28,703.00
      Creditor's Name                             2022 Nissan Frontier (VIN xxx8762)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      3/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      9110
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
0     Mike Albert                                 Describe debtor's property that is subject to a lien                     $48,100.00   $47,690.00
      Creditor's Name                             2021 Ford Transit 250 Cargo (VIN xxx0462)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/2021                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8064
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
1     Mike Albert                                 Describe debtor's property that is subject to a lien                     $28,142.02   $27,666.00
      Creditor's Name                             2020 Ram Promaster 1500 (VINxxx7802)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2019                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0692
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
2     Mike Albert                                 Describe debtor's property that is subject to a lien                     $38,310.00   $32,250.00
      Creditor's Name                             2018 Ram Promaster 2500 (VIN xxx9368)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7478
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
3     Mike Albert                                 Describe debtor's property that is subject to a lien                     $40,118.00   $28,919.00
      Creditor's Name                             2018 Ram Promaster (VIN xxx1831)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      12/2021                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7475
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
4     Mike Albert                                 Describe debtor's property that is subject to a lien                     $55,108.32   $52,252.00
      Creditor's Name                             2022 Ford E-Transit 350 Cargo (VIN xxx2184)
      PO Box 643220
      Cincinnati, OH 45264
      Creditor's mailing address                  Describe the lien
                                                  Auto Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4170
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
5     Mitsubishi HC                               Describe debtor's property that is subject to a lien                     $55,814.26   $45,407.00
      Creditor's Name                             2022 Ford E-Transit 350 Cargo (VIN xxx2154)
      800 Connecticut Avenue
      Norwalk, CT 06854
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4004
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
6     Mitsubishi HC                               Describe debtor's property that is subject to a lien                     $29,841.77   $26,251.00
      Creditor's Name                             2023 Ford Maverick (VIN xxx7830)
      800 Connecticut Avenue
      Norwalk, CT 06854
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4002
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
7     Mitsubishi HC                               Describe debtor's property that is subject to a lien                     $30,399.32        $0.00
      Creditor's Name                             2023 Maverick
      800 Connecticut Avenue
      Norwalk, CT 06854
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6
8     Mitsubishi HC                               Describe debtor's property that is subject to a lien                     $80,776.19   $52,637.00
      Creditor's Name                             2022 Ford E-Transit 350 Cargo (VIN xxx2999)
      800 Connecticut Avenue
      Norwalk, CT 06854
      Creditor's mailing address                  Describe the lien
                                                  Automobile Loan

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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/2022                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      4001
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.6   Newco Capital Group VI
9     LLC                                         Describe debtor's property that is subject to a lien                     $518,700.00      $0.00
      Creditor's Name                             Civil lawsuit
      1 Whitehall Street, Suite                   Short Term Business Loan
      200
      New York, NY 10004
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      September 2022                                 Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.7   Pawnee Leasing
0     Corporation                                 Describe debtor's property that is subject to a lien                      $13,088.00   Unknown
      Creditor's Name                             Business Lease - Secures Alignment Machine
                                                  (See Depreciation Schedule
      PO Box 735120
      Chicago, IL 60673
      Creditor's mailing address                  Describe the lien
                                                  Secured Lease
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      8/1/2022                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      8139
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.7
1     Peac Solutions                              Describe debtor's property that is subject to a lien                      $54,590.00   Unknown
      Creditor's Name                             Secured Loan - Automotive Lifts (See
                                                  Depreciation Schedule)
      PO Box 13604
      Philadelphia, PA 19101
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      2023                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      7835
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.7
2     Ultra Funding, LLC                          Describe debtor's property that is subject to a lien                     $334,769.98      $0.00
      Creditor's Name                             Revenue Purchase Agreement
      50 Merrick Road, Suite 203
      Rockville Centre, NY 11570
      Creditor's mailing address                  Describe the lien

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      9/2022                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




2.7   Westwood Funding
3     Solutions, LLC                              Describe debtor's property that is subject to a lien                     $830,493.09      $0.00
      Creditor's Name                             Civil Lawsuit;
                                                  Short Term Business Loan
      4601 Sheridan St., Ste. 501
      Hollywood, FL 33021
      Creditor's mailing address                  Describe the lien




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Debtor      Heart Heating & Cooling, LLC                                                          Case number (if known)
            Name

                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      January 2023                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative
      priority.                                      Disputed




                                                                                                                           $6,809,138.8
3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       3

Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity
       Ariel Bouskila
       Berkovitch & Bouskila, PLLC                                                                          Line   2.69
       80 Broad St, Ste. 3303
       New York, NY 10004

       Benjamin d. Vinci, Esq.
       2250 S. Oneida Street, Ste 303                                                                       Line   2.18
       Denver, CO 80224

       Bennett Tueller Johnson & Deere
       3165 East Millrock Drive, Suite 500                                                                  Line   2.25
       Salt Lake City, UT 84121

       Boris Yankovich
       1 World Trade Center, Suite 8500                                                                     Line   2.9
       New York, NY 10007

       Jon H. Rogers
       825 North 300 West, Suite N144                                                                       Line   2.25
       Northgate Park Business Center
       Salt Lake City, UT 84103

       Jorge Delgado, Es.
       31 West 34th St., Ste. 7106                                                                          Line   2.9
       New York, NY 10001

       Richard Muller
       61-43 186th Street, Suite 450                                                                        Line   2.73
       Fresh Meadows, NY 11365




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page 30 of 30
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                                                                                                                                                              7/11/23 1:40PM


Fill in this information to identify the case:

Debtor name        Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:          DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                             Unknown           $0.00
          City of Sheridan                                    Check all that apply.
          4101 S. Federal Boulevard                              Contingent
          Sheridan, CO 80110                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          2023                                                City Taxes
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                          $146,210.00          $146,210.00
          Colorado Department of Revenue                      Check all that apply.
          1881 Pierce Street                                     Contingent
          Lakewood, CO 80214                                     Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
                                                              Wage Withholding Taxes

          Last 4 digits of account number 4367                Is the claim subject to offset?

          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                 Yes




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Debtor       Heart Heating & Cooling, LLC                                                               Case number (if known)
             Name

2.3       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                $792,811.00     $792,811.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          4/2023                                               Payroll Taxes

          Last 4 digits of account number 0326                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.4       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                       $0.00    $0.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                             Contingent
          Philadelphia, PA 19101                                  Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2023                                                 Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,612.26
          AAAA Designs                                                           Contingent
          Shannon Anderson                                                       Unliquidated
          12259 W. Chenango Dr.
                                                                                 Disputed
          Morrison, CO 80465
          Date(s) debt was incurred 9/16/2022
                                                                             Basis for the claim:     Trade Debt (Richard Anderson)
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $23,567.97
          Abbotts Cleanup & Restoration                                          Contingent
          2301 S. Jason St.                                                      Unliquidated
          Denver, CO 80223                                                       Disputed
          Date(s) debt was incurred 2023
                                                                             Basis for the claim:     Business Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

3.3       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,873.87
          American Express                                                       Contingent
          PO Box 6031
                                                                                 Unliquidated
          Carol Stream, IL 60197
                                                                                 Disputed
          Date(s) debt was incurred
          Last 4 digits of account number    1006                            Basis for the claim:     AAAA Designs - Credit Card (Richard Anderson)
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 8
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Debtor      Heart Heating & Cooling, LLC                                                    Case number (if known)
            Name

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,652.55
         American Express                                             Contingent
         PO Box 6031                                                  Unliquidated
         Carol Stream, IL 60197
                                                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Business Credit Card
         Last 4 digits of account number   4007
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,213.56
         American Express- Amazon                                     Contingent
         PO Box 6031                                                  Unliquidated
         Carol Stream, IL 60197
                                                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Business Credit Card
         Last 4 digits of account number 1000
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $330,175.55
         Anthem                                                       Contingent
         PO Box 61010                                                 Unliquidated
         Virginia Beach, VA 23466                                     Disputed
         Date(s) debt was incurred 1/2023
                                                                   Basis for the claim:    Insurance
         Last 4 digits of account number 9701
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $21,250.00
         Audacy Operations                                            Contingent
         PO Box 74079                                                 Unliquidated
         Cleveland, OH 44194                                          Disputed
         Date(s) debt was incurred  11/2022                        Basis for the claim:    Trade Debt
         Last 4 digits of account number 4787
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         BMT Capital Group Inc.                                       Contingent
         208 West State Street                                        Unliquidated
         Trenton, NJ 08608                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Future Receivables Sale and Purchase Agreement
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $100,000.00
         Canon Advance, LLC                                           Contingent
         500 W Putnam Ave., Ste. 400
                                                                      Unliquidated
         Greenwich, CT 06830
                                                                      Disputed
         Date(s) debt was incurred January 2023
         Last 4 digits of account number                           Basis for the claim:    Civil Lawsuit
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $36,814.91
         Capital One Spark                                            Contingent
         PO Box 60519                                                 Unliquidated
         City of Industry, CA 91716                                   Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Business Credit Card
         Last 4 digits of account number 7247
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Heart Heating & Cooling, LLC                                                    Case number (if known)
            Name

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $121,561.41
         Chase Ink                                                    Contingent
         PO Box 6294                                                  Unliquidated
         Carol Stream, IL 60197                                       Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Business Credit Card
         Last 4 digits of account number   4760
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $96,000.00
         Continental Western Group                                    Contingent
         PO Box 1594                                                  Unliquidated
         Des Moines, IA 50306                                         Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:
         Last 4 digits of account number 8442
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $15,044.84
         Cost Plus Electric                                           Contingent
         2775 S. Shoshone St.                                         Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Trade Debt
         Last 4 digits of account number   1945
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $13,190.26
         Elavon                                                       Contingent
         PO Box 86                                                    Unliquidated
         Minneapolis, MN 55486                                        Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Business
         Last 4 digits of account number 2872
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $16,421.56
         FIG Advertising and Marketing                                Contingent
         c/o Miller riggs
                                                                      Unliquidated
         730 17th Street, Suite 340
         Denver, CO 80202                                             Disputed

         Date(s) debt was incurred 10/2022                         Basis for the claim:    Advertising
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $50,000.00
         Great Lakes Funding Center                                   Contingent
         31077 Schoolcraft Rd., 201                                   Unliquidated
         Livonia, MI 48150                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Expected Employee Retention Tax Credit
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $55,399.62
         Heckenbauch Law PC                                           Contingent
         7400 E. Orchard Rd., Ste. 270 S                              Unliquidated
         Greenwood Village, CO 80111
                                                                      Disputed
         Date(s) debt was incurred 3/2023
                                                                   Basis for the claim:    Legal Fees
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Heart Heating & Cooling, LLC                                                    Case number (if known)
            Name

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $28,194.34
         Home Depot Pro                                               Contingent
         PO Box 404284                                                Unliquidated
         Atlanta, GA 30384                                            Disputed
         Date(s) debt was incurred  9/2022                         Basis for the claim:    Business Credit Card
         Last 4 digits of account number 9384
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $250,000.00
         iHeart Media                                                 Contingent
         PO Box 419499
                                                                      Unliquidated
         Boston, MA 02241
                                                                      Disputed
         Date(s) debt was incurred  2/2023
         Last 4 digits of account number 5015                      Basis for the claim:    Business Advertising
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $17,150.00
         Integrity Excavations                                        Contingent
         PO Bopx 1009                                                 Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred 2/2023
                                                                   Basis for the claim:    Business
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $253,952.39
         Johnstone Supply                                             Contingent
         PO Box 40605                                                 Unliquidated
         Denver, CO 80204                                             Disputed
         Date(s) debt was incurred   2023                          Basis for the claim:    Business Trade Debt
         Last 4 digits of account number    2021
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     Unknown
         Jon H. Rogers                                                Contingent
         825 North 300 West, Suite N144
                                                                      Unliquidated
         Salt Lake City, UT 84103
                                                                      Disputed
         Date(s) debt was incurred 6/2023
         Last 4 digits of account number                           Basis for the claim:    Attorney Fees
                                                                   Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $947,878.80
         Kinetic/Webbank                                              Contingent
         215 S. State St., Suite 1000
                                                                      Unliquidated
         Salt Lake City, UT 84111
                                                                      Disputed
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Basis for the claim:    Short-Term Business Loan
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $107,979.96
         M & N Plumbing Supply Co.                                    Contingent
         1325 E 58th Ave., Unit C                                     Unliquidated
         Denver, CO 80216                                             Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Trade Debt
         Last 4 digits of account number 8065
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Heart Heating & Cooling, LLC                                                    Case number (if known)
            Name

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $6,082.59
         Marathon Management                                          Contingent
         855 Ridge Lake Rd. Blvd.                                     Unliquidated
         Ste. 100                                                     Disputed
         Memphis, TN 38120
                                                                   Basis for the claim:    Trade Debt
         Date(s) debt was incurred 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.26     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $55,040.62
         Micheal M. Massa                                             Contingent
         14590 E. Florida Ave.
                                                                      Unliquidated
         Aurora, CO 80012
                                                                      Disputed
         Date(s) debt was incurred   2023
         Last 4 digits of account number                           Basis for the claim:    Business
                                                                   Is the claim subject to offset?     No       Yes

3.27     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $189,873.40
         MYNT Advance                                                 Contingent
         200 Central Avenue
                                                                      Unliquidated
         Farmingdale, NJ 07727
                                                                      Disputed
         Date(s) debt was incurred 9/2022
         Last 4 digits of account number                           Basis for the claim:    Short Term Business Loan
                                                                   Is the claim subject to offset?     No       Yes

3.28     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,641.83
         Nationwide Inbound Inc.                                      Contingent
         50 West Douglas, Ste. 1200                                   Unliquidated
         Freeport, IL 61032                                           Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Trade Debt
         Last 4 digits of account number 2564
                                                                   Is the claim subject to offset?     No       Yes

3.29     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $12,548.00
         NewTek Imaging                                               Contingent
         4051 S. Eliot St.                                            Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Business
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.30     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $3,855.00
         Orkin                                                        Contingent
         1511 W. Bayaud Ave.                                          Unliquidated
         Denver, CO 80223                                             Disputed
         Date(s) debt was incurred   2023                          Basis for the claim:    Business Pest Control
         Last 4 digits of account number    2969
                                                                   Is the claim subject to offset?     No       Yes

3.31     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $28,556.99
         Runge Tool                                                   Contingent
         1330 S Inca St.                                              Unliquidated
         Denver, CO 80223                                             Disputed
         Date(s) debt was incurred   2022                          Basis for the claim:    Trade Debt
         Last 4 digits of account number    1522
                                                                   Is the claim subject to offset?     No       Yes




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Debtor      Heart Heating & Cooling, LLC                                                    Case number (if known)
            Name

3.32     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $8,012.27
         Sabell Snow Plowing & Landscape                              Contingent
         555 W Ohio Ave., Ste. B                                      Unliquidated
         Denver, CO 80226                                             Disputed
         Date(s) debt was incurred 11/2022
                                                                   Basis for the claim:    Trade Debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.33     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $34,446.00
         Security National Insurance Company                          Contingent
         800 Superior Ave E                                           Unliquidated
         21st Floor                                                   Disputed
         Cleveland, OH 44114
                                                                   Basis for the claim:    Business Insurance
         Date(s) debt was incurred 2023
         Last 4 digits of account number 0072                      Is the claim subject to offset?     No       Yes


3.34     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $24,530.71
         Service Uniform, Inc.                                        Contingent
         2580 S. Raritan St.                                          Unliquidated
         Englewood, CO 80110                                          Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Business Trade Debt
         Last 4 digits of account number    9353
                                                                   Is the claim subject to offset?     No       Yes

3.35     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $418,085.36
         Spark Plus                                                   Contingent
         PO Box 60519                                                 Unliquidated
         City of Industry, CA 91716
                                                                      Disputed
         Date(s) debt was incurred 2023
                                                                   Basis for the claim:    Credit Card
         Last 4 digits of account number 6539
                                                                   Is the claim subject to offset?     No       Yes

3.36     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,879.71
         Sunbelt Rentals                                              Contingent
         PO Box 409211                                                Unliquidated
         Atlanta, GA 30312                                            Disputed
         Date(s) debt was incurred   2023                          Basis for the claim:    Trade Debt
         Last 4 digits of account number    7340
                                                                   Is the claim subject to offset?     No       Yes

3.37     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $1,080.00
         TGI Inc.                                                     Contingent
         1901 Cornwall Ave, Suite                                     Unliquidated
         Bellingham, WA 98225                                         Disputed
         Date(s) debt was incurred 6/2023
                                                                   Basis for the claim:    Advertising
         Last 4 digits of account number 1001
                                                                   Is the claim subject to offset?     No       Yes

3.38     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $9,885.83
         Thryv                                                        Contingent
         PO Box 78041                                                 Unliquidated
         Phoenix, AZ 85062                                            Disputed
         Date(s) debt was incurred   2023                          Basis for the claim:    Trade Debt
         Last 4 digits of account number    0977
                                                                   Is the claim subject to offset?     No       Yes




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Debtor       Heart Heating & Cooling, LLC                                                           Case number (if known)
             Name

3.39      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,540.60
          To Your Success                                                     Contingent
          3522 Acworth Due West Rd NW                                         Unliquidated
          Kennesaw, GA 30144                                                  Disputed
          Date(s) debt was incurred 3/2022
                                                                           Basis for the claim:    Trade Debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No     Yes

3.40      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $54,281.93
          US Bank                                                             Contingent
          PO Box 790408                                                       Unliquidated
          Saint Louis, MO 63179                                               Disputed
          Date(s) debt was incurred 9/2022
                                                                           Basis for the claim:    Credit Card
          Last 4 digits of account number 5508
                                                                           Is the claim subject to offset?         No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any
4.1       Focus Identity Group, LLC
          1600 Stout St., Ste. 250                                                                  Line     3.15
          Denver, CO 80202
                                                                                                           Not listed. Explain

4.2       Hassett & George, P.C.
          945 Hopmeadow Street                                                                      Line     3.9
          Simsbury, CT 06070
                                                                                                           Not listed. Explain

4.3       Miller Cohen Peterson Young P.C.
          P.O. Box 1259                                                                             Line     3.18
          344 Main Street
                                                                                                           Not listed. Explain
          Longmont, CO 80502

4.4       MSCMM Commercial Credit Management
          333 W. Hampden Ave., Suite 820                                                            Line     3.34
          Englewood, CO 80110
                                                                                                           Not listed. Explain

4.5       NJIC
          1121 North Bethlehem Pike, Suite 60                                                       Line     3.37
          Spring House, PA 19477
                                                                                                           Not listed. Explain


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
5a. Total claims from Part 1                                                                           5a.          $                     939,021.00
5b. Total claims from Part 2                                                                           5b.    +     $                   3,425,274.69

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.          $                      4,364,295.69




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 8 of 8
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                                                                                                                                                  7/11/23 1:40PM


Fill in this information to identify the case:

Debtor name       Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Advertising Agreement
           lease is for and the nature of
           the debtor's interest

               State the term remaining
                                                                                    TGI Inc.
           List the contract number of any                                          1901 Cornwall Ave., Suite
                 government contract                                                Bellingham, WA 98225




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    AAAA Designs                2875 W. Oxford Ave., #7                                   Newco Capital Group                D   2.69
                                      Englewood, CO 80110                                       VI LLC                             E/F
                                                                                                                                   G




   2.2    Heart                       2875 W. Oxford Ave., Unit 7                               Canon Advance, LLC                 D
          Automotive, LLC             Englewood, CO 80110                                                                          E/F       3.9
                                                                                                                                   G




   2.3    Heart Heating               2875 W. Oxford Ave, #7                                    Newco Capital Group                D   2.69
          Cooling &                   Englewood, CO 80110                                       VI LLC                             E/F
          Plumbing
                                                                                                                                   G




   2.4    Heart Heating,              2875 W. Oxford Ave., #7                                   Newco Capital Group                D   2.69
          Cooling,                    Englewood, CO 80110                                       VI LLC                             E/F
          Plumbing & Elect
                                                                                                                                   G




   2.5    Heart                       2875 W. Oxford Ave, #7                                    Newco Capital Group                D   2.69
          HeatingandCooli             Englewood, CO 80110                                       VI LLC                             E/F
          ng
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 4
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Debtor     Heart Heating & Cooling, LLC                                           Case number (if known)


          Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.6     Richard                  12259 W. Chenango Drive                             Libertas Funding,                  D   2.25
          Anderson                 Morrison, CO 80465                                  LLC                                E/F
                                                                                                                          G




  2.7     Richard                  12259 W. Chenango Drive                             Westwood Funding                   D   2.73
          Anderson                 Morrison, CO 80465                                  Solutions, LLC                     E/F
                                                                                                                          G




  2.8     Richard John             12259 W. Chenango Drive                             Canon Advance, LLC                 D
          Anderson                 Morrison, CO 80465                                                                     E/F   3.9
                                                                                                                          G




  2.9     Richard John             12259 W. Chenango Drive                             Newco Capital Group                D   2.69
          Anderson                 Morrison, CO 80465                                  VI LLC                             E/F
                                                                                                                          G




  2.10    Richard John             12259 W. Chenango Drive                             Cloudfund LLC                      D   2.9
          Anderson                 Morrison, CO 80465                                                                     E/F
                                                                                                                          G




  2.11    Richard John             12259 W. Chenango Drive                             Continental Western                D
          Anderson                 Morrison, CO 80465                                  Group                              E/F   3.12
                                                                                                                          G




  2.12    Richard John             12259 W. Chenango Drive                             Everest Business                   D   2.10
          Anderson                 Morrison, CO 80465                                  Funding                            E/F
                                                                                                                          G




  2.13    Richard John             12259 W. Chenango Drive                             MYNT Advance                       D
          Anderson                 Morrison, CO 80465                                                                     E/F   3.27
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 4
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Debtor     Heart Heating & Cooling, LLC                                           Case number (if known)


          Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.14    Richard John             12259 W. Chenango Drive                             Ultra Funding, LLC                 D   2.72
          Anderson                 Morrison, CO 80465                                                                     E/F
                                                                                                                          G




  2.15    Richard John             12259 W. Chenango Drive                             Fox Business                       D   2.18
          Anderson                 Morrison, CO 80465                                  Funding                            E/F
                                                                                                                          G




  2.16    Robert M.                6525 W. Hoover Place                                Libertas Funding,                  D   2.25
          Townsend                 Littleton, CO 80123                                 LLC                                E/F
                                                                                                                          G




  2.17    Robert M.                6525 W. Hoover Place                                Canon Advance, LLC                 D
          Townsend                 Littleton, CO 80123                                                                    E/F   3.9
                                                                                                                          G




  2.18    Robert M.                6525 W. Hoover Place                                Newco Capital Group                D   2.69
          Townsend                 Littleton, CO 80123                                 VI LLC                             E/F
                                                                                                                          G




  2.19    Robert M.                6525 W. Hoover Place                                Cloudfund LLC                      D   2.9
          Townsend                 Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.20    Robert M.                6525 W. Hoover Place                                Continental Western                D
          Townsend                 Littleton, CO 80123                                 Group                              E/F   3.12
                                                                                                                          G




  2.21    Robert M.                6525 W. Hoover Place                                Everest Business                   D   2.10
          Townsend                 Littleton, CO 80123                                 Funding                            E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 3 of 4
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Debtor     Heart Heating & Cooling, LLC                                           Case number (if known)


          Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                          Column 2: Creditor



  2.22    Robert M.                6525 W. Hoover Place                                MYNT Advance                       D
          Townsend                 Littleton, CO 80123                                                                    E/F   3.27
                                                                                                                          G




  2.23    Robert M.                6525 W. Hoover Place                                Ultra Funding, LLC                 D   2.72
          Townsend                 Littleton, CO 80123                                                                    E/F
                                                                                                                          G




  2.24    Robert M.                6525 W. Hoover Place                                Fox Business                       D   2.18
          Townsend                 Littleton, CO 80123                                 Funding                            E/F
                                                                                                                          G




  2.25    Robert                   6525 W. Hoover Place                                Westwood Funding                   D   2.73
          Townsend                 Littleton, CO 80123                                 Solutions, LLC                     E/F
                                                                                                                          G




  2.26    Value Heating &          2875 W Oxford Ave., #7                              Newco Capital Group                D   2.69
          Cooling LLC              Englewood, CO 80110                                 VI LLC                             E/F
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 4 of 4
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Fill in this information to identify the case:

Debtor name         Heart Heating & Cooling, LLC

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                               04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                            $5,793,536.30
      From 1/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                          $12,137,052.01
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                            $8,681,240.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For the fiscal year:                                                                Operating a business                              $875,541.00
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 1
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Debtor       Heart Heating & Cooling, LLC                                                       Case number (if known)




         None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply
      3.1.
              Michael Massa Real Estate                            4/1/2023                         $27,520.31           Secured debt
              14590 E. Florida Avenue                                                                                    Unsecured loan repayments
              Aurora, CO 80012                                                                                           Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other Real Estate Lease


      3.2.
              The Standard                                         4/1/23, 5/1/23                   $10,214.71           Secured debt
              PO Box 650804                                                                                              Unsecured loan repayments
              Dallas, TX 75265                                                                                           Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.3.
              Pipeline Solutions                                   5/10/2023                          $7,800.00          Secured debt
              5201 E. 77th Ave.                                                                                          Unsecured loan repayments
              Commerce City, CO 80022                                                                                    Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.4.
              Mike Albert Leasing                                  4/15/2023,                       $53,234.14           Secured debt
              PO Box 643220                                        5/1/2023                                              Unsecured loan repayments
              Cincinnati, OH 45264
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other


      3.5.
              Wex Bank                                             5/1/2023,                        $25,409.83           Secured debt
              PO Box 6293                                          5/31/2023                                             Unsecured loan repayments
              Carol Stream, IL 60197-6293
                                                                                                                         Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

         None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor
      4.1.    Robert Michael Townsend                              October 2022                     $74,317.65         Wages
              6525 W. Hoover Place                                 - June 15,
              Littleton, CO 80123                                  2022
              Owner

      4.2.    Richard John Anderson                                October 2022                     $59,501.48
              12259 W. Chenango Dr.                                - June 15,
              Morrison, CO 80465                                   2023
              Owner

Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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Debtor       Heart Heating & Cooling, LLC                                                       Case number (if known)



      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.3.    Douglas Malito                                       October 2022                    $107,378.35
                                                                   - June 15,
                                                                   2023

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Canon Advance, LLC v. Heart              Civil                       Superior Court                                Pending
              Heating & Cooling, LLC, Heart                                        123 Hoyt Street                               On appeal
              Automotive, LLC, Robert M.                                           Simsbury, CT 06070
                                                                                                                                 Concluded
              Townsend and Richard John
              Anderson
              JD-CV-55

      7.2.    Newco Capital Group VI LLC               Civil                       Supreme Court of the State                    Pending
              v. Heart Heating and Cooling                                         of New York                                   On appeal
              d/b/a Heart Heating, Cooling,                                        27 North Main Street
                                                                                                                                 Concluded
              Plumbing & Electrid; Heart                                           Canandaiqua, NY 14424
              Heating & Cooling, LLC; Heart
              Heating and Cooling; Heart
              Heating Cooling & Plumbing;
              Value Hearting & Cooling
              LLC; AAAA Designs and
              richard John Anderson and
              Robert M. Townsend
              202209080261

      7.3.    CloudFund LLC v. Heart                   Civil                       Supreme Court of the State                    Pending
              Heating & Cooling, LLC,                                              of New York                                   On appeal
              Robert M. Townsend, and                                              27 North Main Street
                                                                                                                                 Concluded
              Richard John Anderson                                                Canandaigua, NY 14424
              202301240322




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Debtor       Heart Heating & Cooling, LLC                                                        Case number (if known)



              Case title                              Nature of case               Court or agency's name and             Status of case
              Case number                                                          address
      7.4.    Westwood Funding Solutions              Civil                        Supreme Court of the State                  Pending
              LLC v. Heart Heating &                                               of New York                                 On appeal
              Cooling LLC dba Heart                                                County of Kings
                                                                                                                               Concluded
              Heating, Cooling, Plumbing &                                         360 Adams St., #4
              Electric, and Robert                                                 Brooklyn, NY 11201
              Townsend and Richard
              Anderson
              502653/2023

      7.5.    Libertas Funding, LLC v.                Civil                        Third Judicial District Court               Pending
              Heart Heating & Cooling, LLC,                                        State of Utah                               On appeal
              Robert Townsend, and                                                 450 S State St                              Concluded
              Richard Anderson                                                     Salt Lake City, UT 84111
              230900362 CN

      7.6.    Fox Capital Group, Inc. v.              Civil, Breach of             Jefferson County District                   Pending
              Heart Heating & Cooling, LLC            Contract                     Court                                       On appeal
              d/b/a Heart Heating Cooling                                          100 Jefferson County
                                                                                                                               Concluded
              Plumbing & Electric; Value                                           Parkway
              Heating & Cooling, LLC,                                              Golden, CO 80401
              Robert M. Townsend and
              Richard John Anderson
              23CV30058

      7.7.    Heart Heating & Cooling, LLC,           Civil                        Broomfield County District                  Pending
              Heart Heating & Cooling,                                             Court                                       On appeal
              L.L.C. v. Flatiron Property                                          17 Descombes Drive
                                                                                                                               Concluded
              Holding, L.L.C., Flatiiron                                           Broomfield, CO 80020
              Property Holding, L.L.C.
              2023CV030000

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                  Dates given                           Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                             lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

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Debtor        Heart Heating & Cooling, LLC                                                       Case number (if known)



11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                         value
                Address
      11.1.     Buechler Law Office, L.L.C.
                999 18th Street, SUite 1230                                                                             May, June
                Denver, CO 80202                                                                                        2023                     $20,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                 If debtor provides meals
                                                       the debtor provides                                                          and housing, number of
                                                                                                                                    patients in debtor’s care

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Debtor        Heart Heating & Cooling, LLC                                                       Case number (if known)



Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     Chase Bank                              XXXX-1811                     Checking                 2/2023                                      $0.00
                                                                                      Savings
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information
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Debtor      Heart Heating & Cooling, LLC                                                        Case number (if known)




For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    HRT Holdings, LLC                                                                          EIN:         XX-XXXXXXX
            302 Cliff Line Rd.
            Golden, CO 80403                                                                           From-To      5/2019 -

   25.2.    Heart Automotive LLC                                                                       EIN:         XX-XXXXXXX
            7801 W Colfax Ave.
            Denver, CO 80214                                                                           From-To      7/1/2022 -


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To


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Debtor      Heart Heating & Cooling, LLC                                                        Case number (if known)



      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Bergman CPA PC                                                                                                  2020, 2021
                    6010 Weset Spring Creek Parkway
                    Plano, TX 75024
      26a.2.        Huffman Accounting Group, LLC                                                                                   2019
                    12775 West Belleview Avenue
                    Littleton, CO 80217
      26a.3.        Elizabeth Osborne                                                                                               2023
                    7801 W. Colfax Ave.
                    Lakewood, CO 80214

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Richard John Anderson                   12259 W. Chenango Drive                             Member                                    50%
                                              Morrison, CO 80465

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Robert M. Townsend                      6525 W. Hoover Place                                Member                                    50
                                              Littleton, CO 80123

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Douglas Malito                                                                                                                        0




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?

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Debtor      Heart Heating & Cooling, LLC                                                        Case number (if known)




           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                       property                                                                     providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         July 11, 2023

/s/ Robert M. Townsend                                          Robert M. Townsend
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                      United States Bankruptcy Court
                                                                    District of Colorado
 In re    Heart Heating & Cooling, LLC                                                                            Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Richard John Anderson                                                                                                        50%
12259 W. Chenango Dr.
Morrison, CO 80465

Robert M. Townsend                                                                                                           50%
6525 W. Hoover Place
Littleton, CO 80123


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date July 11, 2023                                                       Signature /s/ Robert M. Townsend
                                                                                        Robert M. Townsend

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                          District of Colorado
 In re    Heart Heating & Cooling, LLC                                                           Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




Date:     July 11, 2023                                  /s/ Robert M. Townsend
                                                         Robert M. Townsend/CEO
                                                         Signer/Title
